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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                       §
    In re:                                             § Chapter 11
                                                       §
                                                       § Case No. 19-33395 (MI)
    LEGACY RESERVES INC., et al., 1                    §
                                                       § (Jointly Administered)
                     Debtors.                          §
                                                       §
                                                       §

                                  NOTICE OF STATUS CONFERENCE

             PLEASE TAKE NOTICE that a status conference is scheduled for Thursday, November

21, 2019 at 9:00 a.m. (Central Time) before the Honorable Marvin Isgur, 515 Rusk, Courtroom

404, Houston, Texas 77002 to consider the Motion for Leave, Standing, and Authority to Prosecute

Causes of Action on Behalf of the Debtors’ Estates (docket no. 527), filed by the Official

Committee of Unsecured Creditors, and the Court’s Order to Supplement (docket no. 626).

Dated: October 18, 2019
       Houston, Texas
                                                             Respectfully submitted,
                                                             By: /s/ Hugh M. Ray, III

                                                               PILLSBURY WINTHROP SHAW
                                                               PITTMAN LLP
                                                               Hugh M. Ray, III (State Bar No. 24004246)
                                                               Two Houston Center
                                                               909 Fannin, Suite 2000
                                                               Houston, TX 77010-1028
                                                               Telephone: (713) 276-7600
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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are: Legacy Reserves Inc. (9553); Legacy Reserves GP, LLC (1065); Legacy Reserves
      LP (1069); Legacy Reserves Finance Corporation (1181); Legacy Reserves Services LLC (2710); Legacy
      Reserves Operating LP (7259); Legacy Reserves Energy Services LLC (1233); Legacy Reserves Operating GP
      LLC (7209); Dew Gathering LLC (4482); Pinnacle Gas Treating LLC (3711); Legacy Reserves Marketing LLC
      (7593). The location of the Debtors’ service address is: 303 W. Wall St., Suite 1800, Midland, TX 79701.



                                                                                                       4832-2878-9162.v1
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                                                   - and -
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                                                   Counsel for the Official Committee of
                                                   Unsecured Creditors

                                CERTIFICATE OF SERVICE

        I hereby certify that, on October 18, 2019, a true and correct copy of the foregoing was
served via email through the Bankruptcy Court's Electronic Case Filing System on the parties
that have consented to such service and by KCC, the estates’ noticing agent.


                                                 /s/ Hugh M Ray, III
                                                 Hugh. M. Ray, III




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